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IN THE UNITED STATES DISTRICT COURT;
FOR THE NORTHERN DISTRICT OF TEXA

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AMARILLO DIVISION
OCT 18 2021 |
UNITED STATES OF AMERICA § Seen
§ MOP COE RY
Plaintiff, § ——— |
; _
v. § 2:21-CR-45-Z-BR-(8)
§
CHANDLER GEVEON SMITH §
§
Defendant. §

ORDER ADOPTING REPORT AND RECOMMENDATION
CONCERNING PLEA OF GUILTY

On October 1, 2021, the United States Magistrate Judge issued a Report and Recommendation
Concerning Plea of Guilty (“Report and Recommendation”) in the above referenced cause. Defendant
Chandler Geveon Smith filed no objections to the Report and Recommendation within the fourteen-
day period set forth in 28 U.S.C. § 636(b)(1). The Court independently examined all relevant matters
of record in the above referenced cause—including the elements of the offense, Factual Resume, Plea
Agreement, and Plea Agreement Supplement—and thereby determined that the Report and
Recommendation is correct. Therefore, the Report and Recommendation is hereby ADOPTED by the
United States District Court. Accordingly, the Court hereby FINDS that the guilty plea of Defendant
Chandler Geveon Smith was knowingly and voluntarily entered; ACCEPTS the guilty plea of
Defendant Chandler Geveon Smith; and ADJUDGES Defendant Chandler Geveon Smith guilty of
Count One of the Superseding Information in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(D).

Sentence will be imposed in accordance with the Court’s sentencing scheduling order.

SO ORDERED, October f g 2021.

 

MATHEW J. KACSMARYK
UNJED STATES DISTRICT JUDGE

 
